                 Case 15-11636-JDW              Doc 85      Filed 11/08/20 Entered 11/08/20 16:45:28                      Desc
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                                 UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF MISSISSIPPI
                                                          ABERDEEN DIVISION

In re: ROBERT EARL FANT                                                                                 Case No.: 15-11636-JDW
       KATHY STEVENSON
              Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Locke D. Barkley, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 05/06/2015.
2) The plan was confirmed on 09/17/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 02/14/2020.
5) The case was completed on 06/11/2020.
6) Number of months from filing or conversion to last payment: 61.
7) Number of months case was pending: 65.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 28,739.00.
10) Amount of unsecured claims discharged without full payment: 13,658.76.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:           $22,217.00
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                  $22,217.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $3,200.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                     $1,299.61
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,499.61

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim            Claim           Principal           Interest
Name                                         Class            Scheduled         Asserted         Allowed         Paid                Paid

1ST FRANKLIN FINANCIAL CORP                  Unsecured           2,032.00              NA              NA               .00                .00
AFNI INC                                     Secured                   NA              NA              NA               .00                .00
BECKETT & LEE LLP                            Unsecured             352.00          352.05          352.05               .00                .00
CAPITAL ONE BANK USA NA                      Unsecured             226.00          226.10          226.10               .00                .00
CITIZENS BANK                                Unsecured           1,404.00              NA              NA               .00                .00
DIRECT TV BY AMERICAN INFOSOURCE Unsecured                         371.00          371.84          371.84               .00                .00
FIRST HERITAGE CREDIT                        Secured             1,365.00        1,126.29          460.00           460.00              59.63
FIRST HERITAGE CREDIT                        Unsecured                 NA          666.29          666.29               .00                .00
FIRST NATIONAL COLLECTION                    Secured                   NA              NA              NA               .00                .00
FIRST STATE BANK                             Secured             9,128.00        9,426.25         9,111.82        9,111.82           1,180.92
FIRST STATE BANK                             Secured             3,193.00        3,019.40        3,019.40        3,019.40              391.32
FIRST STATE BANK                             Secured               314.43          314.43          314.43           314.43                 .00
INTERNAL REVENUE SERVICE                     Priority                  NA        2,186.29              .00              .00                .00
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                                 UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF MISSISSIPPI
                                                     ABERDEEN DIVISION

In re: ROBERT EARL FANT                                                                                 Case No.: 15-11636-JDW
       KATHY STEVENSON
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim           Claim         Principal            Interest
Name                                       Class              Scheduled           Asserted        Allowed       Paid                 Paid

INTERNAL REVENUE SERVICE                   Secured                    NA               NA               NA              .00                .00
INTERNAL REVENUE SERVICE                   Unsecured                  NA               .00              .00             .00                .00
MARSHALL COUNTY CHANCERY CLERK Secured                                NA               NA               NA              .00                .00
MARSHALL COUNTY TAX COLLECTOR              Secured                    NA               NA               NA              .00                .00
MS DEPARTMENT OF REVENUE                   Secured                    NA               NA               NA              .00                .00
OFFICE OF US TRUSTEE                       Secured                    NA               NA               NA              .00                .00
PIONEER CREDIT COMPANY                     Unsecured               978.00              NA               NA              .00                .00
REPUBLIC FINANCE LLC                       Secured               2,274.87         1,949.89         255.00           255.00              33.07
REPUBLIC FINANCE LLC                       Unsecured                  NA          1,694.89        1,694.89              .00                .00
ROYAL FURNITURE                            Secured               2,635.00         2,260.04        2,260.04       2,260.04              292.89
TOWER LOAN OF OLIVE BRANCH                 Secured               7,331.00         6,233.59         300.00           300.00              38.87
TOWER LOAN OF OLIVE BRANCH                 Unsecured                  NA          6,083.59        5,933.59              .00                .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal            Interest
                                                                                                  Allowed       Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                 .00
     Mortgage Arrearage:                                                                              .00             .00                 .00
     Debt Secured by Vehicle:                                                                    3,019.40        3,019.40              391.32
     All Other Secured:                                                                         12,701.29       12,701.29            1,605.38
 TOTAL SECURED:                                                                                 15,720.69       15,720.69            1,996.70

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00             .00                .00
     Domestic Support Ongoing:                                                                          .00             .00                .00
     All Other Priority:                                                                                .00             .00                .00
 TOTAL PRIORITY:                                                                                        .00             .00                .00

 GENERAL UNSECURED PAYMENTS:                                                                      9,244.76              .00                .00

 Disbursements:
        Expenses of Administration:                                                             $4,499.61
        Disbursements to Creditors:                                                            $17,717.39
 TOTAL DISBURSEMENTS:                                                                                                             $22,217.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:    10/30/2020                                      By:   /s/Locke D. Barkley
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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